                                                                                                                                         FILED IN THE
                                                                                                                                     U.S. DISTRICT COURT
                                    Case 1:14-cr-02065-SMJ                    Document 87             Filed 08/13/15           EASTERN DISTRICT OF WASHINGTON

 OAO 245B      (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1 Revised by WAED - 06/13                                                                                  Aug 13, 2015
                                                                                                                                    SEAN F. MCAVOY, CLERK

                                             UNITED STATES DISTRICT COURT
                                                   Eastern District of Washington
           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                            Case Number:           1:14CR02065-SMJ-2
                AUSTIN HENRY PHILLIPS
                                                                            USM Number:            17308-085

                                                                                  Julian Elizabeth Trejo
                                                                            Defendant’s Attorney




 THE DEFENDANT:

 ✔pleaded guilty to count(s)
 G                                    16 of the Indictment
 G pleaded nolo contendere to count(s)
    which was accepted by the court.
 G was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                   Nature of Offense                                                                       Offense Ended        Count
16 U.S.C. § 668(a)                Violation of the Bald and Golden Eagle Act                                                  01/27/14            16




        The defendant is sentenced as provided in pages 2 through                      6      of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 G The defendant has been found not guilty on count(s)
 ✔Count(s)
 G               All remaining counts                     G is        ✔are dismissed on the motion of the United States.
                                                                      G
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                   7/29/2015
                                                             Date of Imposition of Judgment




                                                             Signature of Judge




                                                          The Honorable Salvador Mendoza, Jr.                  Judge, U.S. District Court
                                                             Name and Title of Judge


                                                                         08/13/2015
                                                             Date
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             Sheet 4—Probation

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DEFENDANT: AUSTIN HENRY PHILLIPS
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                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of :          3 years




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
G                                                                                                                              (Check, if applicable.)

✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer.
G                                                                                                           (Check, if applicable.)

G The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence.            (Check, if applicable.)

       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency withou t the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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           Sheet 4C — Probation
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                                         SPECIAL CONDITIONS OF SUPERVISION
 14) Defendant shall participate in the home confinement program for 30 days. Defendant shall abide by all the
 requirements of the program, which will include electronic monitoring or other location verification system. Defendant
 shall pay all or part of the costs of the program based upon Defendant’s ability to pay. Defendant is restricted to
 Defendant’s residence at all times except for employment, education, religious services, medical, substance abuse, or
 mental health treatment, attorney visits, court appearances, court-ordered obligations, or other activities as preapproved
 by the supervising officer.

 15) Defendant shall not hunt outside of any Reservation.

 16) Defendant shall abstain from the use of alcohol, or comply with other limits on alcohol use imposed in addition to the
 standard condition to refrain from excessive use of alcohol.

 17) Defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may
 include urinalysis or sweat patch), as directed by the supervising officer, but no more than 6 tests per month, in order to
 confirm continued abstinence from these substances.

 18) Defendant shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter
 into and successfully complete an approved substance abuse treatment program, which could include inpatient
 treatment and aftercare. Defendant shall contribute to the cost of treatment according to Defendant’s ability to pay.
 Defendant shall allow full reciprocal disclosure between the supervising officer and treatment provider.

 19) Defendant shall not enter into or remain in any establishment where alcohol is the primary item of sale.
 Defendant shall submit Defendant’s person, residence, office, or vehicle to a search, conducted by a probation officer, at
 a sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of
 supervision. Failure to submit to search may be grounds for revocation. Defendant shall warn persons with whom
 defendant shares a residence that the premises may be subject to search.
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          Sheet 5 — Criminal Monetary Penalties
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DEFENDANT: AUSTIN HENRY PHILLIPS
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                           Fine                              Restitution
TOTALS               $25.00                                               $0.00                             $0.00


G   The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

G   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                              Total Loss*        Restitution Ordered      Priority or Percentage




TOTALS                               $                            0.00        $                      0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G    the interest requirement is waived for the            G fine G restitution.
     G    the interest requirement for the           G   fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 — Schedule of Payments

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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    G    Lump sum payment of $                                due immediately, balance due

          G      not later than                                    , or
          G      in accordance           G    C,      G   D,   G     E, or    G     F below; or

B    ✔
     G    Payment to begin immediately (may be combined with                 G C,       G D, or     ✔F below); or
                                                                                                    G
C    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔
     G    Special instructions regarding the payment of criminal monetary penalties:

     While on probation, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is less, payments to commence as directed by the supervising probation
     officer.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S. District Court, Attention:
Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

✔
G    The defendant shall forfeit the defendant’s interest in the following property to the United States:
      See "Additional Forfeited Property" Sheet.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                                            ADDITIONAL FORFEITED PROPERTY
   1. One (1) Savage Axis .223 caliber rifle Serial number H912Z45, seized by FWS from Maldonado’s Chrysler
   Sebring on January 30, 2014, following the vehicle’s seizure on January 27, 2014;

   2. One (1) Remington Model 700 22-250 caliber rifle Serial number RR22808C, seized by FWS FWS from
   Maldonado’s Chrysler Sebring on January 30, 2014, following the vehicle’s seizure on January 27, 2014; and

   3. One (1) Savage Model 93R .17 caliber rifle Serial number 2044931, seized by FWS from Maldonado’s Chrysler
   Sebring on January 30, 2014, following the vehicle’s seizure on January 27, 2014.
